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IN THE UNITED STATES DISTRICT COUR'I` FOR THE I)ISTRICT OF MARYLAND

LEONA VICTORS (EMENYONU)
25548 Hill Road
Greensboro, Maryland 21639

and

HOME CARE, INC. d/b/a

LEONA’S HEART ASSISTED LIVING
25548 Hill Road

Greensboro, Maryland 21639

Plaintif"fs,
v.

WENDY A. KRONMILLER

Maryland Depzu“uuent of Health and Mental Hygiene
Off`lce of Health Care Quality

Spring Grove Center

55 Wade Aven`ue

Catonsville, Maryland 21228

Ll

JANE WESSELY

Division of Waiver Programs
201 West Preston Street
Baltimore, Maryl£md 21201

Ld

BARBARA SHAN'NON

Residential and Community Program Unit
Assisted Living Program

201 West Pl'eston Street

Baltimore, Marylzmd 21 201

an_d

ED SADLER

Maryland Department of Aging
100 Schauber Rc)ad
Chestertown, Maryland 21620

CASE NO.

Original Complaint
Declaratory Relief
In_junctive Relief
Damages

Dern€md for Jury 'l`rial

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SERVE ON:

Honorable Doug Gansler Attorney General
200 St. Paul Place
Baltiinore, Maryland 21202

all_dr

JAMES F. CROSSON
73 Franldin Street
Annapolis, l\/laryland 21 401

Defendants.

 

CON£PLAINT FOR DAMAGES, DECLARATORY AND OTHER RELIEF

Plaintiffs Leona Victors (Enienyonu) and Honie Care, Inc. d/h/a Leona’s l`-Ieart
Assisted Living (“Home Care"), Plaintiff, by and through undersigned counsel, files this
Complaint for Dainages, Declaratory, Injunctive and Other Relief against the Defendants
named herein, and in support of said Complaint states and avers as follows:

A. PRELIMINARY STATEMENT

Leona Victors (Enienyonu), a United States citizen and Maryland resident, and Honie
Care, lnc. d/b/a Leona’s Heart Assisted Living (“Home Care")J a Maryland corporation, bring
this civil rights action against the Maryland State Deparnnent of I-Iealth and Mental Hygiene
(“DHMH”), thce of Health Care Quality (“Ol-iCQ"), Division of Waiver Prograins (“DWP”),
Maryland Deparnnent of Aging (“DOA”), and certain agents, servantsJ employees and officials
of DI-lMH, OHCQ, DWP and DOA, for declaratory relief, injunctive relief, compensatory
damages and punitive damages ln addition, the Plaintiffs also bring Maryland claims against
Defendant .lalnes F. Crosson for breach of contract, breach of the implied covenant of good faith

and fair dealing, and tortious intentional interference With prospective advantage

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B. INTRODUCTION

1. Home Care, lnc. dfb/a Leona’s Heart Assisted Living (“Home Care”) is
managed by an African American Woman by the name of Leona Vi.ctors (Emenyonu). l\/ls.
Victors is an African American Woman Who is a Registered Nurse (RN) and Who holds a
Bachelors degree in Nursing (BSN). Ms. Victors has lengthy experience in all fields of
nursing from bedside care to health care management

2, Home Care is the corporate name for the assisted living facility named Leona’s
Heart Assisted Living. The Home Care facility is located in Greenshoro, l\/laryland Which
consists of a very low demographic income population

3. The Home Care facility provides Level 1, 2 and 3 skilled nursing services in
several areas, including, a professional staff managed by a full time registered nurse, access to
health and medical services, various programs, meals and transportation

4. Home Care is run by African Anierican managers and has several African
American employees Under the ownership of Ms. Victors, the Home Care facility staff
originally numbered 14 but has since been reduced to 8 as a result of the discrimination and
action of the Defendants named herein as alleged below.

5. The Maryland State Departrnent of I-Iealth and Mental Hygiene (“DHI\/IH”),
Offlce of Health Care Quaiity (“OHCQ"), Division of Waiver Programs (“DWP”), Maryland
Department of Aging (“DOA”) are all controlled by Caucasian (“White") directors, officials
and managers, and the regulatory arms and units of such governmental entities are likewise
run, directed and controlled by White individuals

6. The Ol-ICQ issues the operating license for assisted living facilities The DOA

issues the Medicaid Waiver numbers Both OHCQ and DOA are part of DHMl-I.

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7. Defendants Wendy A. Kronmiller, Jane Wessely, Barbara Shannon and Ed
Sadler are all White individuals employed by the Maryland governmental entities of DHl\/li-I,
OHCQ, DWP and DOA during all times relevant to this lawsuitl

8. Defendant Jarnes F. Crosson (“Crosson”) is a white male who was the previous
owner of the assisted living facility under the same corporate name “Honie Care, lnc.” At the
time when Crosson owned the assisted living facility, he called it Blue I-Ieron Assisted Living.

9. DHMI-I, OHCQ, DWP, DOA and their officials, along with their units and
directors, have engaged in, maintained and enforced and continue to engage in, maintain and
enforce, policies and practices that have discriminated against Hoine Care and other African
American owned or African American run and controlled organizations in favor of white
owned or run and controlled organizations because of race. This discrimination is regarding
the licensing and operation of assisted living facilities and, upon infonnation and belief, other
similar organizations designed to provide services to the elderly, homeless and otherwise
disabled individuals.

10. Specifically, DHMH, OHCQ, DWP, DOA and their ofiicials, along with their
units and directors, have exhibited a concerted and aggressive practice to enforce and
prosecute the rules and regulations pertaining to assisted living facilities in a discriminatory
and disproportionate manner in favor of white-owned assisted living facilities, and in disfavor
of African American owned assisted living facilities

11. DHMH, OHCQ, DWP, DOA and their ofticials, along with their units and
directors, have engaged in, maintained and enforced and continue to engage in, maintain and
enforce, policies and practices for the specific purpose that assisted living facilities like Home

Care facility owned by African Americans will be shut down so that competitor assisted living

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facilities owned by white individuals may survive, thrive and exist in place of the African
American facilities

12. Defendant Crosson conspired with and/or facilitated the discriminatory actions
of DHMH, OHCQ, DWP, DOA and their officialsj along with their units and directors during
and after Crosson sold the Home Care facility to Ms. Victors.

C. JURlSDICTION AND VENUE

13. Plaintiff’ s claims arise under 42 U.S.C. Sections 1981 and 1982; the Due
Process Clause of the 14th Amendment, U.S. Constitution; the Equal Protection Clause of the
14th Amendment, U.S. Constitution and 42 U.S.C. Section 1983; and 42 U.S.C. Section 1985

14. l The Court hasjurisdiction pursuant to 28 U.S.C. Sections 1331 and 1343(3).

15. Venue lies in the District of Maryland pursuant to 28 U.S.C. Section 1391.(b).

16. This Court also has supplemental jurisdiction over the state law claims
pursuant to 28 U.S.C. Section 1367.

D. PARTIES

17. Home Care, Inc. d/b/a Leona’s Heart Assisted Living ("Home Care") is a
l\/laryland corporation, with its principal office and place of business at 25548 Hill Road,
Greensboro, Maryland 21639.

18. The owner of Home Care, Leona Victors (Emenyonu), is an African American
woman who was boni in the country of Nigeria in Africa.

l9. Wendy A. Kronrniller (“Kronmiller"), a white female, is the Director of the
Oftice of Health Care Quality, a unit of the Maryland Department of Health and l\/iental
I-lygiene, who has a place of business and principal office in Baltimore County at 55 Wade

Avenue, Catonsville, Maryland 21228.

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20. lane Wessely ("Wessely“), a white female, is the Chief of the Division of
Waiver Programs, Medicaid Waiver, l\/Iaryland Department of I~lealth and l\/lental Hygiene,
who has a principal office and place of business in the City of Baltimore at 201 West Preston
Street, Baltimore, Maryland 21201.

21. Barbara Shannon ("Shannon"), a white female, is the Health Facilities Nurse
Surveyor, Residential and Connnunity Program Unit, Assisted Living Program, Office of
l-lealth Care Quality, who has a principal office and place of business in Baltimore Cou.nty at
55 Wade Avenue, Catonsville, Maryland 21228.

22. Ed Sadler (“Sandler"), a white male, is an Ombudsinan for Upper Shore Aging,
Inc., Maryland Department of Aging, who has a principle oflice and place of business in
Caroline County at 100 Shauber Road, Chestertown, l\/laryland 21620.

23. James F. Crosson (“Crosson”), a white male, is the former owner of the
assisted living facility at issue in this lawsuit. At the time when Crosson owned the facility,
the facility was operated under the name “Home CareJ lnc. d/b/a Blue l-leron Assisted Living.”
Crosson has a principle office and place of business in Anne Arundel County at 73 Franltlin
Street, Annapolis, l\/laryland 21401.

24. The l\/laryland Department of Health and Mental l-lygi_ene (“DHMH") is an
agency of the State of Maryland with its principal office and place of business in the City of
Baltimore at 201 West Preston Street, Baltirnore, l\/laryland 21201. The Maryland Department
of Aging (“DOA") is part of the organizational structure of Dl-ll\/ll~l. DOA issues the
Medicaid waiver numbers used by assisted living facilities

25. The Office of Health Care Quality (“OHCQ”) is a division or unit of the

Maryland Department of Health and Mental Hygiene (“Dl-ll\/ll-l”) with its principal office and

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place of business in the City of Catonsville at Spring Grove Center, 55 Wade Avenue,
Catonsville, Maryland 21228. The Division of Waiver Programs (“DWP”) is part of the
organizational structure of DHMH. OHCQ issues the operating license for assisted living
facilities
D. FACTUAL BACKGROUND

26. Home Care, lnc. d/b/a Leona’s Heart Assisted Living (“Home Care”) is an
assisted living facility located at 25548 Hill Road in Greensboro, Maryland. Tlie payment
source for the facility is primarily from Medicaid waiver payments from the federal
government administered by the Medicaid waiver unit of the l\/laryland Department onging.

27. For all the years prior to the purchase of the l-Iome Care facility by an African
American woman, Leona Victors (Emenyonu), the Home Care facility was owned by white
individuals The participation of the previous white owners of the l"lome Care facility in the
Maryland Medicaid Waiver Program, as allowed by OHCQ and DOA, enabled the previous
white owners to operate the Home Care facility on a profitable basis

28. However, after the Horne Care facility was purchased and therefore owned for
the first time ever in its history by an African Arnerican woman, Ms. Victors, DHMH, OI-ICQ,
DWP and DOA, through its officials and agents, suddenly changed its practice and began to
enforce discriminater and arbitrarily various alleged violations of rules and regulations
These alleged rules and regulations violations at the Home Care facility existed BEFORE the
facility was purchased by Ms. Victors and DURING the time when the l-loine Care facility
was owned by white individuals

29. When l\/Is. Victors purchased the Home Care facility, she expended a great

amount of her personal resources to buy the facility under a specific three-year business plan

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to recoup her expenditures and rim the I-Iome Care facility as profitably as the previous white
owners Ms. Victors specifically formulated her business plan for the facility based on the
continual operation and licensed of the facility by DHMH, OHCQ, DWP and DOA in the
Maryland l\/ledicaid Waiver Program. As a result of the discrimination against her by all the
named Defendants herein, l\/ls. Victors seeks in her name as well as the name of her facility
l-lome Care, lnc. d/b/a Leona’s Heart Assisted Living, compensatory and ptuiitive damages for
the lost on her investment, emotional distress pain and suffering, as well as certain
declaratory and injunctive relief The following factual allegations provide a chronology of
discrimination and arbitrary action by the Defendants herein as follows:

30. This operating license issued by Ol-ICQ, in particular, was valid and effective
horn Decernber 12, 2004 through December ll, 2006. The facility at that time was owned by
James F. Crosson (“Crosson”) under the name of Home Care, lnc. d/b/a Blue Heron Assisted
Living. The OHCQ operating license was specifically issued to the corporate entity, Home
Care lnc. The OHCQ operating license was not issued to Crosson in his individual capacity.

31. On February 15, 2006, pursuant to the applicable rules and regulations
representatives of OHCQ conducted a “re-licensure survey” to determine if the Home Care
facility was in compliance with Maryland license requirements for assisted living programs
The survey team in February 2006 included Defendant Barbara Shannon.

32. The purpose of the survey under regulation is to discover, assess and report
“deficiencies” at the assisted living facility. Under normal circumstances any problems
detected by the survey team would be brought to the attention of the assisted living facility
owner and would be addressed and corrected by giving the owner reasonable time to respond.

Under only rare occasions the survey team will issue a report under the authority of OI-ICQ to

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the owner of the assisted living facility listing “deficiencies” and requesting an immediate
response regarding more serious and imminent problems

33. Under the applicable rules and regulations while there is no normal response
time specified as to when the OHCQ will submit a report to the owner of an assisted living
facility regarding the more serious problems called deficiencies by the very nature of the
more serious type of problem at issue in a deticiency, such reports submitted by the OHCQ
after a stuvey team visit is quite fast, and typically within one month of the survey team’s
inspection of the facility.

34. ln the case of the survey’s team inspection of the l-lome Care facility in
February 2006, the OHCQ did not issue a report regarding deficiencies at the Horrre Care
facility in the month of February 2006, nor in the month of March 2006, nor in the month of
April 2006, nor in the month of May 2006. All of the months ofFebruary, March, April and
May of 2006 was during the time when Crosson, a white individual, owned the l-lome Care
facility.

35. On April 24, 2006, Crosson executed a stock and membership purchase
agreement to sell all the outstanding capital stock and membership interest of Home Care, lnc.
to Leona Victors (Emenyonu). Under that purchase agreement, Ms. Victors would pm'chase
all of the rights and licenses of Home Care, Inc. d/b/a Blue Heron Assisted Living. This
purchase agreement specifically included the purchase by Ms. Victors and transfer by Crosson
of the l-lome Care facility’s OHCQ operating license and the DOA l\/ledicaid waiver number.

36. Under the applicable rules and regulations l\/ls. Victors was not required to
renew the Home Care facility’s OI'ICQ operating license until the date when the Ol`-lCQ

operating license previously issued to Crosson was due to expire on Decernber 31, 2006.

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37. Crosson also did not disclose that an OHCQ survey team had inspected the
Hoiiie Care facility in February 2006, and that OHCQ would be submitting a report based on
the inspection regarding alleged deficiencies at the Honie Care facility.

38. Crosson also did not disclose correspondence exchanged between himself and
DOA shortly after he signed the purchase agreement on April 24, 2006.

39. Tlie stock and membership purchase agreement closed on June 9, 2006. On
that date, l\/ls. Victors purchased the Home Care facility for a purchase price of $l million
dollars The purchase price does not include the significant amount of additional money l\/ls.
Victors incurred related to the purchase of the Home Care facility (i.e., appraisal costs taxes
bank fees etc).

40. On lune 9, 2006, Ms. Victors became the first African American ever to own
the Honie Care facility and officially took over the premises in Greensboro, Maryland and
began to run the facility. n

41. Ms. Victors eventually changed the operating name of the facility from Hoine
Cai'e, Inc. d/b/a Blue Heron Assisted Living to Home Care, lnc. d/'b/a Leona’s Heart Assisted
Living. Tlie legal name of the facility remained l-Iome Care, lnc.

42. At the time when Ms. Victors purchased the Home Care facility on .l`une 9,
2006, there were approximately 26 residents living there. Out of the 26 residents 14 were
Medicaid waiver assistance, and the remaining residents had applications pending

43. Almost immediately after it was discovered that the assisted living facility was
now owned by air African American woman, DHMH, OHCQ, DWP, DOA and their officials
along with their units and directors began a determined, aggressive and ultimately successful

campaign of harassinent, arbitrary enforcement of rules and regulations and discrimination

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specifically designed to put the now African American owned facility out of business by
driving up Ms. Victors’ costs for maintaining the facility, forcing her to hire attorneys
removing the l\/Iedicaid funds without cause or due process and removing her residents
without cause or due process

44. The discrimination by Dl-ll\/lI-I, Ol-lCQ, DWP, DOA and their officials along
with their imits and directors was organized along two discrete froiits: (l) Arbitrary and
unsupported denial of l\/ledicaid benefits forcing an administrative appeal and decision by the
administrative law judge affirming the legitimacy of the Plaintiffs’ obvious entitlement to
Medicaid funding; and (2) Arbitrary and unsupported reporting of scores of alleged
“deficiencies” driving up costs to L‘fix” the alleged “dehciencies” spanning over eight months
and costing Ms. Victors thousands of dollars and leading to the removal without cause or due
process of almost all of her residents The chronology of the factual allegations regarding the
discrimination follows

45. Soon after Ms. Victors purchased the l-Iome Care facility on .lune 9, 2006,
Defendant Ed Sadler, the Upper Sliore Aging onibudsman, and an employee of Defendant
.lames Crosson, Leslie Ruhl, began to make frequent and confrontational visits to the l~lome
Care facility in Greensboro, Maryland.

46. Sadler’s and Ms. Rulil’s sudden visits coincided with the same time that
Defendant Crosson’s wife, Sandy lronmonger, also began visiting the I-Iome Care facility as
frequently as three times a weelt. These visits by Crosson’s wife occurred AFTER Defendant
Crosson had sold the facility to Ms. Victors and, based on information and belief, occurred
when Ms. lronmonger had never visited the Home Care facility before for at least five years

prior.

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47. With respect to Sadler’s visits to the Honie Care facility, Sadler told l\/ls.
Victors and her staff: “There is no way that [Ms. Victors] will be allowed to practice in this
county." Sadler also stated repeatedly that Ms. Victors must be “shot down” and that he was
acting on the authority and direction of the “higher ups" within DHMl-I.

48. Witli respect to Crosson’s wife’s visits to the l-lome Care facility, Ms.
lronmonger made various statements to the staff, all of which were clearly designed to
undermine Ms. Victor’s authority as the new owner and/or encourage the staff to leave the
facility under Ms. Victors’ ownership

49. For example, Ms. lronmonger indicated that she and her liusband, Defendant
Crosson, know people in DHMH, OHCQ and DOA and that Ms. Victors will be “shut down
in no time” and that her Medicaid waiver number would be “yanked” and that Ms. Victors
would “never get it back, no matter what she did.”

50. Around the same time that Defendants Sadler and Defendant Crosson’s wife,
l\/ls. lronmonger, were predicting that Ms. Victors and the Home Care facility would be “shot
down,” Ol-ICQ through its officials and agents suddenly becariie interested in the alleged
deficiencies at the I-Iome Care facility. On or about June 21, 2006 ~» not even two weeks after
Ms. Victors had purchased the facility - Defendant Sadler and Ci'osson’s employee Leslie
Ruhl personally delivered a document entitled “Notice of Directed Plan of Correction” (the
“First Report”).

51. The cover letter of the First Report indicated that a re-licensure survey had
been conducted on February 15, 2006. Tlie First Report contained 55 pages of alleged
deficiencies at the facility. The First Report indicated that requirements regarding several of

the alleged deficiencies “must be met immediately.” The cover letter of the First Report also

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indicated that “[w]e are forwarding these deficiencies to our legal counsel for a determination
of whether additional licensure action is appropriate.”

52. Each and every one of the alleged deficiencies contained in the First Repoi't
was present during the time the Hoine Care facility was owned by Defendant Crosson.

53. Overall, DHMH, OHCQ, DWP and DOA, through its officials and agents
intended the First Report to create a number of problems for Ms. Victors so that there would
he a tremendous burden on her to spend her money and time to address such deficiencies
when she had only been the owner for less than a month. Ms. Victors accordingly, was
forced to retain Attorney Martin B. King of the firm Goi'maii & Williatns in Baltimoi'e,
Mai'ylaiid and expended a tremendous amount of resources iii legal fees and related expenses
in order to combat the discrimination against her.

54. ln response to the First Report, Ms. Victors deployed a tremendous amount of
her time and resources to address iii good faith each of the deficiencies asserted by OHCQ.

55. From Angust 28, 2006 throuin September l, 2006, OHCQ and its
representatives conducted a second re-licensure survey at the l-Iome Care facility. Defendant
Shannon was a member of this survey tearri. Defendant Sliannon was also a member of the
survey team that had inspected the Home Care facility in February 2006 when Defendant
Crosson, a white male, owned the facility.

56. On September 25, 2006, Ms. Victors received a second report entitled “Notice
of Follow Up To Directed Plan of Correction” (the “Second Report”). ln the Second Report,

OI-lCQ actually increased the number of alleged deficiencies at the l-lome Care facility in 64

pages

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57. Many of the deficiencies reported in the Second Report were simply wrong,
and simply a copy of the deficiencies reported in the First Report, which the representatives of
the survey team indicated had been corrected

58. Defendant Shannon, and other representatives of DHl\/ll-l, OHCQ, DWP and
DOA, purposely manipulated the results in the Secoiid Report so that Ms. '\/ictors would
continue to experience financial hardship and spend unnecessary time and money addressing
manufactured and exaggerated deficiencies at the facility.

59. As a result of the repeated and misplaced findings in the Sccoiid Report, Ms.
Victoi's’ attorney requested a meeting to discuss the basis for the deliciencies reported in the
Second Report and to request an extension on the unreasonable timetable demanded in the
Second Report for the alleged deficiencies to be cured. Defendants Kronmiller and Shannon
attended the meeting.

60. After the meeting, Ms. Victors once again was forced to deploy a tremendous
amount of her time and resources to somehow address the repeated alleged deficiencies
reported by OHCQ.

61. Meanwhile, on the Medicaid administrative side, Ms. Victors and Home Care
were further discriminated against On September lS, 2006, Ms. Victors received a call from
the Upper Sliore Aging, which is a part of DOA, informing Ms. Victors that Upper Sliore
Aging had been authorized to physically remove the residents at the liome Care facility.

62. When Ms. Victors replied that she had received no notice or letter informing
her of this decision, soon thereafter a letter dated September 18, 2006 was sent by facsimile to
Ms. Victors’ attention In that letter, Defendant lane Wessely, Chief of the Division of

Waiver Pi'ograms (“DWP”), indicated that the Honie Care facility is “not a Medicaid provider

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and [has] fraudulently submitted claims for Medicaid paymeiit.”

63. ln the September 18, 2006 letter, Wessely indicated that Ms. Victors was
required to return payment iii the amount of $64,943.71 and that she would not receive
payment for the outstanding l\/fedicaid invoices she had submitted, in the amount of $21,000.

64. Wessely also stated in the September 18, 2006 letter that Ms. Victors and
Home Care had 30 days to appeal the decision and institute administrative proceedings in
order to reverse the denial of the facility’s Medicaid payments

65. Based on the above, Ms. Wessely directed representatives of Upper Sliore
Aging, including Defendant Ed Sadlei', to physically remove 14 Medicaid Waiver residents
ON THE SAME DAY the Plaintiffs were suppose to have 30 days to appeal.

66. ln fact, the physical removal of the residents began on September 30, 2006 and
ended on October 2, 2006.

67. The residents of the Home Care facility did not want to leave the home, and
they physically and actively resisted being inoved, sometimes resulting in injury to the
residents inflicted by the representatives of Upper Sliore Aging.

68. ln addition to not affording Ms. Victors and the l-lome Care facility due
process DHMH, DOA, DWP and Ol-ICQ had no support for their position under the
applicable rules and regulations for removing the l\/ledicaid waiver residents denying
i\/ledicaid waiver payment and reimbursement

69. The fact that DHMH, DOA, DWP and OHCQ were clearly wrong was
confirmed by the decision of the administrative law judge on or about May 22, 2007, when the
administrative law judge granted summary decision in the Plaintiffs’ favor confirming that the

Plaintiffs were obviously entitled to l\/iedicaid funds

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70, Everi to this date, Ms. Victors and the Home Care facility still have not
received the September, 2006 Medicaid waiver payment which they are owed, nor has the
Home Care Medicaid waiver number been re-activated, both are entitlements due the
Plaintiff`s according to the decision by the administrative law judge

71. By the time of the administrative law judge’s decision in l\/fay 2007__ however,
Ms. Victors’ resources had been destroyed Ms. Victors was forced to spend a tremendous
amount of her time, energy and money battling the discrimination from DHMl-l, Ol~iCQ,
DWP_, DOA and their officials along with their units and directors on two fronts: (l) The
continual battle addressing the alleged deficiencies at the facility; and (2) the administrative
proceedings regarding the Plaintiffs’ right to Medicaid finids.

72. Meanwhile, without order or authority prohibiting them from doing otherwise,
Dl~il\/fl~l, OHCQ, DWP, DOA and their officials along with their units and directors
continued in their campaign to shut down the Home Care facility under ownership by an
Anican American person

73. During the course of time from June 9, 2006 through to the present, the
Defendants herein, in particular Defeiidarits Crosson and his agents Sadler and Sliannon, have
contacted various people and groups doing business with the Home Care facility in an effort to
impede Ms. Victors’ and the Home Care facility’s successful operation

'74. fn additionJ DHl\/ll-I, OHCQ, DWP, DOA and their officials along with their
units and directors also continued to submit reports containing false deficiencies against the
Home Care facility. The survey teams all led by Defendant Barbara Shannon, continued to
look for, and in most cases simply made up, purported deficiencies all in an effort to delay the

time when Ms. Victors could obtain a new OHCQ operational license (alter the initial one

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expired on Deceinber 31, 2006), and/or to drive up the money she had to spend to address the
alleged deficiencies falsely reported against the facility.

75. fn total, OI-ICQ submitted four deficiency reports the last two on December
20, 2006 and on March 2, 2007.

76. Contrary to the lapse of time between the inspection by a survey team and the
submission of a deficiency report greater than four months during the time when Defendant
Ci'ossoii, a white male, was the owner; Ol-ICQ submitted a report to l\/is. Victors requiring her
to expend still more resources on each occasioii, all within one month of the inspection

77. fn a letter dated February l, 2007, Ms. Victors’ attorney requested that
members of “senior management” be involved iii the inspection process including two
African American employees of OHCQ.

78. ln response to that letter, Defendant Kromniller visited the Home Care facility
and thereafter she submitted an e-mail dated February 7, 2007, in which she stated: “[1`]he
surveyors will be discussing their observations and regulatory violations but they will not be
making the final decision on licensure of Leona’s HeartJ its census or on any conditions that
will be set upon licensure They will bring their findings back to the office and we will make
those decisions next week.”

79. Despite Defendant Kroniniller’s assurances no final decision was made “next
week” after her February 7, 2007 e-mail. ln fact, l\/ls. Victors and the Home Care facility did
not receive the OHCQ operating license until over two months later -» on April 24, 2007.
There was no reason given for this delay.

80. The above delayJ harassment and overall destruction of the Home Care facility

caused by the discrimination arbitrary and unjust treatment by DI-ll\/ll~l, DOA, DWP and

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OHCQ, its officials, directors, agents, and units, as well as by Defendant Crosson and his
agents, including his wif`e, have caused significant financial loss and damage to Ms. Victors,
as well as emotional distress, and related pain and suffering

81. The business plan underlying her purchase on June 9, 2006 has been destroyed
To this day, Ms. Victors continues to suffer financial loss and the loss as a result of not being
allowed to admit residents with a Medicaid waiver since the facility is not naturally designed
for private pay residents Presently, out of the 26 residents living at the Home Care facility
when she purchased it, only 8 residents now live there.

82. lt is expected that Ms. Victors will have to close the Home Care facility
because of the discrimination alleged above by Defendants l<ronmiller, Wessely, Shannon and
Sadler iuider color of law, as well as because of` the violation oi" state law as alleged above by
Defendant Crosson.

COUNT ONE
(42 U.S. Code Section 1981)
(Against Defendants Kronmiller, Wessely, Shannon and Sadler)

83. Plaintif`fs Leona Victors (Emenyonu) and Home Care, lnc. d/b/a Leona’s Heart
Assisted Living repeats and incorporates by reference under this Count One Paragraphs 1-82,
as if fully set forth herein.

84. Under 42 U.S. Code Section. l.98](a), “all persons...shall have the same
right...to make and enforce contracts...and to the full and equal benefit of` all laws and
proceedings for the security of persons and properties as enjoyed by white citizens.“

85. Defendants Kroniniller, Wesseiy, Shannon and Sadler targeted the Plaintifl"s in
the same manner that they have targeted other African American owned or African American

controlled and Af`rican American rim organizations regarding arbitrary enforcement and

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application of the rules and regulations for assisted living facilities and like organizations

86. rl`he selective and arbitrary application and enforcement of the applicable
regulations by the Defendants named in this Count One was racially motivated because its
purpose was to force the closure of African American organizations including in this case
Home Care lnc. d/b/a Leona’s Heart Assisted Living.

87. The discriminatory action alleged in this Complaint compares to the
considerably more tolerant and conciliatory approach taken by the Defendants named in this
Count Onc to white owned or white controlled and white run organizations that were allowed
to resolve their deficiencies and violations through friendly mediation and stay in business
The closure of the Home Care facility will allow the Defendants named in this Count One_, as
they have done in past years when they, upon information and belief, have forced the closure
of other African American organizations to either promote white-owned competitor assisted
living facilities in the area andfor install a white person as the owner of the Home Care
facility.

88. DHMI-l has not monitored nor scrutinized the conduct and actions of agents
servants employees and officials of OI-lCQ, DWP and DOA and iuiits of OHCQ. DHMH is
responsible and accountable for their conduct

89. Defendants have violated and continue to violate 42 U.S. Code Section 1981
by discriminating against l\/Is. Victors on the basis of her race and national origin concerning
Ms. Victors’ right to operate a legitimate business for profit, make and enforce contracts in
comiection with ruiming the business and such other and further activities as enumerated
under Section 1981.

90. As a result of the discrimination by the Defendants named in this Count, the

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Plaintiffs have suffered, and continue to suffer financial damage and loss as specified below in
the Prayers for Relief, including and not limited to the loss of the investment in purchasing the
Home Care facility, money spent in responding to the administrative reports regarding alleged
deficiencies money spent in battling the administrative denial of Medicaid funds money and
profit relating to the loss of residents and attorney’s fees
COUNT TWO
(42 U.S. Code Section 1982)
(Against Defendants Kronmiller, Wessely, Sliannon and Sadler)

91. Plaintiffs Leona Victors (Emenyonu) and Home Carej lnc. d/b/a Leona’s Heart
Assisted Living repeats and incorporates by reference under this Count Two Paragraphs 1-90,
as if fully set forth herein.

92. Under 42 U.S. Code Section 1982, "all citizens...are entitled to the same
right...as is enjoyed by white citizens...to purchase.,.personal property.”

93. The actions of Defendants Kromniller, Wessely, Sliannon and Sadler in
subjecting Plaintiffs to snident, harsh and racially discriminating selective and arbitrary
enforcement and application of the rules and regulations for assisted living facilities has
interfered with the ability of the African American owned and managed Home Care facility to
transact business and minister to its residents as well as interfered with the ability of the
Home Care facility to properly be compensated by Medicaid payments

94. In contrast, the Defendants named in this Count Two have not interfered with
or impeded the ability of the Home Care facility when it was owned by white individuals as
well as other white owned and managed assisted living care facilities to transact business and
minister to its residents and has not interfered with the ability of the white owned facilities to

be compensated by Medicaid payments

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95. The Defendants named in this Count Two have violated and continue to violate
42 U.S. Code Section 1982 by having racial animus against Ms. Victors and her right to
operate a business in this country, thereby depriving her of this right.

96. As a result of the discrimination by the Defendants named in this Count, the
Plaintiffs have suffered, and continue to suffer financial damage and loss as specified below in
the Prayers for Relief, including and not limited to the loss of the investment in purchasing the
Home Care facility, money spent in responding to the administrative reports regarding alleged
deficiencies money spent in battling the administrative denial of l\/ledicaid funds money and
profit relating to the loss of residents and attorney’s fees

COUNT THREE
(42 U.S. Code Section 1983)
(Against Defendants Kronmiller, Wessely, Shannon and Sadler)

97. Plaintiffs Leona Victors (Emenyonu) and Home Care, Inc. d/b/a Leona’s l-leart
Assisted Living repeats and incorporates by reference under this Count Three Paragraplis i-
96, as if fully set forth herein.

98. Under 42 U.S. Code Section 1983, "every person who, under color of any
statute, ordinance, regulation, custom, or usage, or any State or Territory or the District of
Columbia, subjects or causes to be subjected, any citizen of the United States or other person
within the jurisdiction thereof to the deprivation of any rights privileges or immunities
secured by the Constitution and laws shall be liable to the party injured."

99. Under color of state law, Defendants Kronmiller, Wessely, Shannon and Sadler
have deprived the Plaintiffs of due process of law as guaranteed by the Fourteenth
Amendment to the United States Constitution.

100. Under color of state law, the Defendants named in this Count Three have

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deprived Home Care of the equal protection of the law on the basis of race in violation of the
equal protection clause of the Fourteenth Amendment to the United States Constitution.

101. Under color of state law, the Defendants named in this Count Three have
violated and continue to violate the Fourteenth Amendment to the United States Coustitution
and 42 U.S. Code Section 1983.

102. As a result of the discrimination by the Defendants named in this Count, the
Plaintiffs have suffered, and continue to stiffer financial damage and loss as specified below in
the Prayers for Relief, including and not limited to the loss of the investment in purchasing the
Home Care facility, money spent in responding to the administrative reports regarding alleged
deficiencies money spent in battling the administrative denial of l\/iedicaid ‘l_ilnds money and
profit relating to the loss of residents and attorney’s fees

COUNT FOUR
(42 U.S. Code Section 1985)
(Against Defendants Kronmiller, Wessely, Shannon and Sadler)

103. Plaintiff`s Leona Victors (Emenyonu) and Home Care, lnc. d/b/a Leona’s Heart
Assisted Living repeats and incorporates by reference under this Count Four Paragraphs l-
102, as if` fully set forth herein.

104. Defendants Kromniller, Wessely, Shannon and Sadler have conspired with
agents servants employees and officials of white owned or white controlled private
organizations that are run by white managers to deprive the Plaintiffs of the equal protection
of the laws

l05. The Defendants named in this Count Four have violated and continue to violate
42 U.S. Code Section 1985 and one or more of the Defendants including Defendants Shannon

and Sadler, took numerous specific acts in furtherance of the conspiracy, including contacting

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various people and groups doing business with the Home Care facility in an effort to impede
Ms. Victors’ and the Home Care facility’s successful operation.

106. As a result of the discrimination by the Defendants named in this Count, the
Plaintiffs have suffered, and continue to suffer financial damage and loss as specified below in
the Prayers for Relief, including and not limited to the loss of the investment in purchasing the
Home Care facility, money spent in responding to the administrative reports regarding alleged
deficiencies money spent in battling the administrative denial of Medicaid funds money and
profit relating to the loss of residents and attorney’s fees

COUNT FIVE
(Breach of Contract)
(Against Defendant Crosson)

107. Plaintiffs Leona Victors (Emenyonu) and Home Care, ine. d/b/a Leona’s Heart
Assisted Living repeats and incorporates by reference under this Count Five Paragraphs l-
106, as if fully set forth herein.

108. The purchase agreement executed between Defendant James F. Crosson
(“Crosson") and Plaintiff Leona Victors (Emenyonu) on or about April 24, 2006 states
specifically that Defendant Crosson was selling and transferring a valid OHCQ operating
license and a valid DOA Medicaid waiver number to Ms. Victors as the new owner of Home
Care, lnc. d/b/a Blue Heron Assisted Living subsequently changed to Home Care, Inc. d/b/a
Leona’s Heart Assisted Living.

109. At the time when Defendant Crosson executed the purchase agreement, he
knew either that he was not transferring the Ol-lCQ operating license and/or the DOA

Medicaid waiver number, or that DHMH, DOA, DWP and OHCQJ their agents officials and

representatives would question the validity of the OHCQ operating license and DOA

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l\/iedicaid waiver number specified in the purchase agreement to be sold to Ms. Victors.

110. For example, the stock and membership purchase agreement executed by
Defendant Crosson on April 24, 2006 states that “Neither Seller nor Home Care or l~lill Road
has any notice of, or any reason to believe that there is or has been any actual, threatened or
contemplated termination of” the OHCQ operating license or DOA Medicaid waiver munber.

lll. At the time when Defendant Crosson executed the purchase agreement, he also
did not disclose that representatives of Ol-ICQ had conducted a survey inspection of the Home
Care facility in February 2006.

112. Crosson also did not disclose correspondence exchanged between himself and
DOA shortly after he signed the purchase agreement on April 24, 2006.

113. Subsequent to the time after Defendant Crosson executed the purchase
agreementJ DHMH and Ol-ICQ did in fact issue a report to correct alleged deficiencies as a
result of the survey inspection in February 2006 during the time when Defendant Crosson was
owner of the Home Care facility.

114. As a result, Defendant Crosson breached the purchase agreement by not
disclosing the survey inspection in February 2006.

1l5. As a result of the breach by Defendant Crosson, the Plaintiffs have suffered,
and continue to stiffer financial damage and loss as specified below in the Prayers for Relief,
including and not limited to the loss of the investment in purchasing the Home Care facility,
money spent in responding to the administrative reports regarding alleged deficiencies money
spent in battling the administrative denial of Medicaid funds money and profit relating to the

loss of residents and attorney’s fees

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COUNT SIX
(Breach of Implied Covenant of Good Faith and Fair Dealing)
(Against Defendant Crosson)

116. Plaintiffs Leona Victors (Emenyonu) and Home Care, Inc. d/b/a Leona’s Heart
Assisted Living repeats and incorporates by reference under this Count Six Paragraphs 1»1 15,
as if fully set forth herein.

117. Under Maryland law, by virtue of the intentions of the parties as expressed in
the purchase agreement executed between Plaintiffs and Defendant .lames F. Crosson
(“Crosson”) on or about April 24, 2006, and the circumstances of how and why the purchase
agreement was formed and intended, Defendant Crosson was obligated under an implied
covenant of good faith and fair dealing to disclose any and all information that would impact,
effect and/or negate the ability of Ms. Victors to operate the Home Care facility.

118. At the time when Defendant Crosson executed the purchase agreement, Home
Care, Inc. d/b/a Blue Heron Assisted Living was operating on a profitable basis

ll9. At the time when Defendant Crosson executed the purchase agreement,
Defendant Crosson knew that Plaintiff Leona Victors (Emenyonu) intended and expected to
likewise operate the Home Care facility on a profitable basis

l20. At the time when Defendant Crosson executed the purchase agreement,
Crosson also did not disclose that representatives of OHCQ had conducted a survey inspection
of the Home Care facility in February 2006.

121. Crosson also did not disclose correspondence exchanged between himself and
DOA shortly alter he signed the purchase agreement on April 24, 2006.

122. Subsequent to the time after Defendant Crosson executed the purchase

agreement, DIM-I and OHCQ did in fact issue a report to correct deficiencies as a result of

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the survey inspection in February 2006 during the time when Defendant Crosson was owner
of the Home Care facility.

123. As a result, Defendant Crosson breached the implied covenant of good faith
and fair dealing recognized under Maryland law underlying all contracts executed in the state
of Maryland.

124. As a result of the breach of the implied covenant of good faith and fair dealing
by Defendant Crosson, the Plaintiffs have suffered, and continue to suffer financial damage
and loss as specified below in the Prayers for Relief, including and not limited to the loss of
the investment in purchasing the Home Care facility, money spent in responding to the
administrative reports regarding alleged deficiencies money spent in battling the
administrative denial of Medicaid funds money and profit relating to the loss of residents and
attorney’s fees

COUNT SEVEN
(Tortious Intentional Interference With Prospective Advantage)
(Against Defendant Crosson)

125. Plaintiffs Leona Victors (Emenyonu) and Home Care_, inc. d/b/a Leona’s l-leart
Assisted Living repeats and incorporates by reference under this Count Seven Paragraphs 1-
124, as if fully set forth herein.

126. On or about April 24, 2006, when Defendant lanies F. Crosson (“Crosson”)
executed the purchase agreement between the parties Crosson knew that the Plaintiffs
expected to operate a profitable business at the Home Care facility.

12'7. Soon after Defendant Crosson sold the Home Care facility to Plaintiff Leona
Victors (Emenyonu), he began a campaign to interfere with Ms. Victoi's’ ability to operate the

Home Care facility on a profitable basis

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128. While Defendant Crosson, a white male, intended to benefit from the $l
million purchase price by selling the Home Care facility to Ms. Victors Defendant Crosson
did not want to see an African American person operate his facility, and specifically acted,
both directly and through agents to thwart Ms. Victors’ ability to operate the Home Care
facility on a profitable basis

129. For example, soon after Defendant Crosson sold the Home Care facility to l\/Is.
Victors his wife, Sandy lronmonger, began visiting the Home Care facility as frequently as
three times a week, even though, his wife had never visited the facility when her husband
owned it for at least five years prior to the sale.

130. The reason for these visits was for the specific purpose to interfere with Ms.
Victors’ authority and ability to run the facility, by contacting staff and residents and
encouraging both to leave the facility under Ms. Victors’ authority For exampleJ Ms.
lronmonger indicated that she and her husband know people in Dl-ll\/IH_1 Ol-lCQ and DOA and
that Ms. Victors will be “shut down in no time” and that her l\/ledicaid waiver number would
be “yanked” and that Ms. Victors would “never get it back, no matter what she did.”

131. These statements by Ms. lronmonger and other action by Defendant Crosson
and agents like his wife were made with the specific, knowingJ willful and intentional purpose
to interfere with Ms. Victors’ prospective advantage, business opportunity, and ability to run
the Home Care facility on a profitable basis

132. lt is also believed, upon information and belief, that Defendant Crosson and
agents like his wife did indeed contact various government and agency officials in Upper
Sliore Aging, DOA, DWP, OCHQ and DHMH, including Defendants Sadler and Shannon,

with the specific purpose to use his influence over such officials to encourage the

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governmental agencies and units to harass and discriminate against Ms. Victors and impede
her ability to run the Home Care facility on a profitable basis

133. Defendant Crosson knew and intended that his intentional interference with
Ms. Victors’ ability to run the Home Care facility on a profitable basis would cause her to shut
down the business

134. Defendant Crosson knew and intended that his intentional interference with
Ms. Victors’ ability to run the Home Care facility on a profitable basis would allow assisted
living facilities run by white individuals in the Caroline Couiity, Mary|and to compete
successfully against l\/Is. Victors.

135. Defendant Crosson succeeded in his attempts to interfere With and impede Ms.
Victors’ ability to run the Home Care facility on a profitable basis

136. At the time when Defendant Crosson sold the Home Care facility to Ms.
Victors there were 26 residents living at the facility out of a possible 31 beds As a result of
the discrimination and other violations of law by Defendant Crosson, as well as the other
Defendants named in this Complaint, there are now 8 residents living at the facility under Ms.
Victors’ ownership

137. Defendant Crosson acted with the aggravated conduct of malice, fraud,
misrepresentation and purposeful ill will of racism and discrimination, as alleged above.

138. As a result of Defendant Crosson’s intentional interference as alleged above,
the Plaiirtiffs have sufferedj and continue to stiffer financial damage and loss as specified
below in the Prayers for Relief, including and not limited to the loss of the investment in
purchasing the Home Care facility, money spent in responding to the administrative reports

regarding alleged deficiencies money spent in battlng the administrative denial of Medicaid

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funds money and profit relating to the loss of residents attorney’s fees and punitive
damages
PRAYERS FOR R_ELIEF

WHEREFORE, Plaintiffs Leona Victors (Emenyonu) and Home Care, Inc. d/b/a
Leona’s Heart Assisted Living respectfully request that this i-lonorable Coiirt grant the
following relief:

A. Declare that Defendants Kronmiller, Wessely, Shannon and Sadler have
violated 42 U.S. Code Sections l981 and 1982; the Fourteenth Amendment to the United
States Constitution and 42 U.S. Code Section 1983; and, 42 U.S. Code Section 1985.

B. Enjoin the illegal and unconstitutional conduct of Defendants Kronnriller,
Wessely, Shannon and Sadler.

C. Award Plaintiff compensatory damages in the amount of 333 million and
punitive damages in the amoiuit of $10 million against Defendants Kronnriller, Wessely,
Shannon and Sadler.

D. Award the Plaintiffs their reasonable attomey's fees and cost pursuant to 42
U.S. Code Section 1988(b).

E. Award judgment against Defendant Crosson for violation of Counts Five, Six
and Seven in the complaint;

F. Award compensatory damages in the Plaintiffs’ favor and against Defendairt
Crosson in the amount of $3 million;

G. Award punitive damages in the Plaintiffs’ favor and against Defendant Crosson

for violation of Count Seven in an amount of $10 inillion;

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l-l. Award such other and further relief as this l-lonorable Court may deem
appropriate and equitable including other injunctive and declaratory relief as may be required

to serve the interest of justice.

Respectfully Subnritted,

 

Michael R. Caritliers Jr. (#27272)

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Dated: August 28, 2007

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